                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

IN THE MATTER OF:
                                                 Chapter 7
                                                 Case No. 24-41956-mar
BRANDON HEITMANN,                                Hon. Mark A. Randon

          Debtor(s).
_______________________________/
MOHAMED SAAD,

        Plaintiff,                               Adv. Pro. No. 24-04375-mar
                                                 Hon. Mark A. Randon
v.

BRANDON HEITMANN,

     Defendant.
_______________________________/


 THIRD RE-NOTICE OF TAKING DEPOSITION OF MOHAMED SAAD

To:     Mohamed Saad
        c/o OSIPOV BIGELMAN P.C.
        Jeffrey H. Bigelman, Esq.
        20700 Civic Center Drive, Suite 420
        Southfield, MI 48076

        PLEASE TAKE NOTICE that Counsel for Defendant, Brandon Heitmann,
will take the deposition of Mohamed Saad, on Thursday, May 15, 2025 at 10:00
AM at the offices of OSIPOV BIGELMAN P.C., 20700 Civic Center Drive, Suite
420, Southfield, MI 48076.




     24-04375-mar    Doc 70   Filed 04/29/25   Entered 04/29/25 12:21:29   Page 1 of 4
      Deponent is to have personal knowledge to testify to all claims alleged in the

Complaint and all averments made in his pleadings in this matter.

      The deposition will be transcribed by a court reporter.

                                               Respectfully Submitted,

                                               KOTZ SANGSTER WYSOCKI P.C.

                                               By: /s/ Tyler P. Phillips
                                                      Tyler P. Phillips (P78280)
                                               Attorneys for Defendant Heitmann
                                               400 Renaissance Ctr. Ste. 3400
                                               Detroit, MI 48243
Dated: April 29, 2025                          313-259-8633
                                               tphillips@kotzsangster.com




                                           2
 24-04375-mar    Doc 70   Filed 04/29/25       Entered 04/29/25 12:21:29   Page 2 of 4
                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

IN THE MATTER OF:
                                                     Chapter 7
                                                     Case No. 24-41956-mar
BRANDON HEITMANN,                                    Hon. Mark A. Randon

          Debtor(s).
_______________________________/
MOHAMED SAAD,

        Plaintiff,                                   Adv. Pro. No. 24-04375-mar
                                                     Hon. Mark A. Randon
v.

BRANDON HEITMANN,

     Defendant.
_______________________________/

                                 Certificate of Service

       I hereby certify that on April 29, 2025, I, served a copy of the Third Re-
Notice of Taking Deposition of Mohamed Saad by filing the same with the Clerk
of the Court using the ECF system which will send notification of such filing to all
parties registered on the ECF System for this case, including:

        Robert N. Bassel
        bbassel@gmail.com, robertbassel@hotmail.com;ecfbassel@gmail.com
        Jeffrey H. Bigelman
        jhb_ecf@osbig.com, tc@osbig.com;mk@osbig.com
        Anthony James Miller
        am@osbig.com
        Yuliy Osipov
        yotc_ecf@yahoo.com, yo_ecf@osbig.com;tc_ecf@osbig.com




                                               3
     24-04375-mar    Doc 70   Filed 04/29/25       Entered 04/29/25 12:21:29   Page 3 of 4
                                               Respectfully Submitted,

                                               KOTZ SANGSTER WYSOCKI P.C.

                                               By: /s/ Tyler P. Phillips
                                                      Tyler P. Phillips (P78280)
                                               Attorneys for Defendant Heitmann
                                               400 Renaissance Ctr. Ste. 3400
                                               Detroit, MI 48243
                                               313-259-8633
                                               tphillips@kotzsangster.com




                                         4
24-04375-mar   Doc 70   Filed 04/29/25       Entered 04/29/25 12:21:29   Page 4 of 4
